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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )                4:01CR3122-3
                                         )
             V.                          )
                                         )
JUAN FRANCISCO OTERO                     )                    ORDER
FIGUEROA,                                )
                                         )
                    Defendant.           )
                                         )


       IT IS ORDERED that counsel for the parties are directed to provide, by way of
a brief, an explanation of why the Probation Officer’s calculations shown in filing no.
255 differ substantially from the stipulation of the parties shown in filing no. 258.

      DATED this 4th day of September, 2015.

                                        BY THE COURT:

                                        Richard G. Kopf
                                        Senior United States District Judge
